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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 18-0193V
                                      Filed: April 15, 2019
                                         UNPUBLISHED


    WILLIAM HENDERSON and RHONDA
    HENDERSON, as the Natural Parents
    and Guardians of A.H., a minor,
                                                             Special Processing Unit (SPU);
                        Petitioners,                         Damages Decision Based on Proffer;
    v.                                                       Tetanus Diphtheria acellular
                                                             Pertussis (Tdap) Vaccine; Human
    SECRETARY OF HEALTH                                      Papillomavirus (HPV) Vaccine;
    AND HUMAN SERVICES,                                      Vasovagal Syncope

                       Respondent.


Rudolph L. Massa, Massa Law Group, Pittsburg, PA, for petitioners.
Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

        On February 7, 2018, William and Rhonda Henderson (“petitioners”) filed a
petition for compensation under the National Vaccine Injury Compensation Program, 42
U.S.C. §300aa-10, et seq.,2 (the “Vaccine Act”) on behalf of their minor daughter, A.H.
Petitioners allege that A.H. developed vasovagal syncope upon receiving tetanus-
diphtheria-acellular pertussis (“Tdap”) and human papillomavirus (“HPV”) vaccines on
August 19, 2016, which resulted in “residual effects and complications of a fall and
associated concussion.” Petition at 1-4. Specifically, petitioners alleged that A.H.
continues to suffer a “lump on her head, i.e., she remains disfigured” as a result of the

1
  The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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syncope she suffered following her vaccinations. Id. at 4. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

        On November 16, 2018, a ruling on entitlement was issued, finding petitioners
entitled to compensation. On April 12, 2019, respondent filed a proffer on award of
compensation (“Proffer”) indicating petitioners should be awarded a total of $52,044.12,
representing $50,000.00 to petitioners and $2,044.12 to satisfy a Commonwealth of
Pennsylvania Medicaid lien. Proffer at 2. In the Proffer, respondent represented that
petitioners agree with the proffered award. Id. Based on the record as a whole, the
undersigned finds that petitioners are entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioners the following:

    (1) A lump sum payment of $50,000.00 in the form of a check payable to petitioners
        as guardians/conservators of A.H.’s estate. No payments shall be made until
        petitioners provide respondent with documentation establishing that they have
        been appointed as the guardians/conservators of A.H.’s estate; and

    (2) A lump sum payment of $2,044.12, representing compensation for satisfaction of
       the Commonwealth of Pennsylvania Medicaid lien, payable jointly to petitioners
       and to:

                                 Commonwealth of Pennsylvania
                                 Department of Human Services
                                 Bureau of Program Integrity
                                 P.O. Box 8486
                                 Harrisburg, PA 17105
                                 CIS#: 830170479

Petitioners agree to endorse this payment to the Commonwealth of Pennsylvania.
These amounts represent compensation for all damages that would be available under
§ 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master



3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                               OFFICE OF SPECIAL MASTERS


 WILLIAM HENDERSON and RHONDA  )
                               )
 HENDERSON, as the Natural Parents and
 Guardians of A.H., a minor,   )
                               )                      No. 18-193V
           Petitioners,        )                      Chief Special Master Dorsey
 v.                            )                      ECF
                               )
 SECRETARY OF HEALTH AND HUMAN )
 SERVICES,                     )
                               )
           Respondent.         )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

        On November 15, 2018, respondent conceded that entitlement to compensation was

appropriate under the terms of the Vaccine Act. Thereafter, on November 16, 2018, Chief

Special Master Dorsey issued a Ruling on Entitlement, finding that petitioner was entitled to

vaccine compensation for her vasovagal syncope and resulting sequelae.

I.      Compensation for Vaccine Injury-Related Items

     Based on the evidence of record, respondent proffers that petitioner should be awarded

$50,000.00. This amount represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a), with the exception of the reimbursement of the Medicaid

lien, below. Petitioners agree.

        Respondent further proffers that petitioners should be awarded funds to satisfy a

Commonwealth of Pennsylvania Medicaid lien in the amount of $2,044.12, which represents full

satisfaction of any right of subrogation, assignment, claim, lien, or cause of action the

Commonwealth of Pennsylvania may have against any individual as a result of any Medicaid

payments that the Commonwealth of Pennsylvania has made to or on behalf of A.H. from the
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date of her eligibility for benefits through the date of judgment in this case as a result of her

vaccine-related injury suffered on or about April 19, 2016, under Title XIX of the Social

Security Act. Petitioners agree.

II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner be made through

two lump sum payments as described below:

       (1)     A lump sum payment of $50,000.00 in the form of a check payable to petitioners
               as guardians/conservators of A.H.’s estate. 1 No payments shall be made until
               petitioners provide respondent with documentation establishing that they have
               been appointed as the guardians/conservators of A.H.’s estate; and

       (2)     A lump sum payment of $2,044.12, representing compensation for satisfaction of
               the Commonwealth of Pennsylvania Medicaid lien, payable jointly to petitioners
               and to:

                                   Commonwealth of Pennsylvania
                                   Department of Human Services
                                    Bureau of Program Integrity
                                          P.O. Box 8486
                                      Harrisburg, PA 17105
                                         CIS#: 830170479

Petitioners agree to endorse this payment to the Commonwealth of Pennsylvania.

                                                       Respectfully submitted,

                                                       JOSEPH H. HUNT
                                                       Assistant Attorney General

                                                       C. SALVATORE D’ALESSIO
                                                       Acting Director
                                                       Torts Branch, Civil Division

                                                       CATHARINE E. REEVES
                                                       Deputy Director
                                                       Torts Branch, Civil Division


1
 Should petitioner die prior to the entry of judgment, respondent reserves the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future pain and suffering, and future lost wages.
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                                   ALEXIS B. BABCOCK
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   s/ Traci R. Patton
                                   TRACI R. PATTON
                                   Senior Trial Attorney
                                   Torts Branch, Civil Division
                                   U.S. Department of Justice
                                   P.O. Box 146
                                   Benjamin Franklin Station
                                   Washington, D.C. 20044-0146
                                   Telephone: (202) 353-1589

Dated: April 12, 2019
